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 Fill in this information to identify the case:
 Debtor name        STW Resources Holding Corp.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        16-33121-bjh-11
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2016      to   Filing date
fiscal year to filing date:                                                        Other                                              $558,421.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2015      to    12/31/2015
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                                $1,500.00

                                                                                   Operating a business
For the year before that:        From    01/01/2014      to    12/31/2014
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                               $13,043.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
     adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None




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               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


          None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

          None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

          None

 Part 3:         Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

          None

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. Arch Capital Funding, LLC               Civil suit regarding unpaid debt           Supreme Court of the State of New York
                                                                                                                                              Pending
      vs. STW Resources Holding                                                         Name
      Corp. d/b/a STW Resources                                                         60 Centre Street                                      On appeal
      d/b/a STW Water d/b/a Upton                                                       Street
      County Water Station, STW                                                                                                               Concluded
      Water Process &
      Technologies, LLC, d/b/a                                                          New York                  NY      10007
      STW Resources d/b/a STW                                                           City                      State   ZIP Code
      Water d/b/a Upton County
      Water Station, STW Pipeline
      Maintenance &
      Construction, LLC d/b/a STW
      Resources d/b/a STW Water
      d/b/a Upton County Water
      Station and Alan R. Murphy
      Case number
      54394-2016

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.2. STW Resources Holding                   Civil suit regarding unpaid debt           112th District Court, Pecos County, TX
                                                                                                                                              Pending
      Corp. v. Watson Parker, LLC            stemming from turnkey drilling             Name
      d/b/a Chief Services, Case             agreement                                  P.O. Drawer C                                         On appeal
      Drillling & Pump Service,                                                         Street
      LLC, Casey B. Hutto and Eric                                                                                                            Concluded
      Blue
      Case number
                                                                                        Ozona                     TX      76943
      P-7454-83-CV                                                                      City                      State   ZIP Code



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Debtor       STW Resources Holding Corp.                                            Case number (if known)    16-33121-bjh-11
             Name

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.3. GE Ionics, Inc. d/b/a GE          Civil suit regarding unpaid debt      Supreme Court of the State of New York
                                                                                                                                Pending
      Water & Process                                                        Name
      Technologies vs. STW                                                   New York County Courthouse                         On appeal
      Resources Holding                                                      Street
      Corporation                                                                                                               Concluded
                                                                             60 Centre Street
      Case number
      651832-2013                                                            New York                 NY      10007
                                                                             City                     State   ZIP Code

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.4. H20 Investments LP vs. STW                                              215th District Court, Harris County TX
                                                                                                                                Pending
      Capital Reef/Ft. Stockton                                              Name
      LLC, STW Resources                                                     201 Caroline Street #1330                          On appeal
      Holding Corp., STW Water                                               Street
      Process & Technologies,                                                                                                   Concluded
      LLC, STW Energy Services,
      LLC, STW Oilfield                                                      Houston                  TX      77002
      Construction, LLC, STW                                                 City                     State   ZIP Code
      Pipeline Maintenance &
      Construction, LLC
      Case number
      201641077

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.5. Lonestar West Enterprises,        Civil suit regarding unpaid debt      141st District Court, Tarrant County TX
                                                                                                                                Pending
      LLC vs. STW Resources            for materials and supplies            Name
      Holding Corp.                                                          Tom Vandergriff Civil Courts Building              On appeal
                                                                             Street
                                                                                                                                Concluded
                                                                             100 N. Calhoun Street, 3rd Floor
      Case number
      141-281104-15                                                          Fort Worth               TX      76196
                                                                             City                     State   ZIP Code

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.6. LLG Energy Services, LLC,         Civil suit regarding unpaid debt      112th District Court, Pecos County TX
                                                                                                                                Pending
      d/b/a Moonlight Energy           stemming from turnkey drilling        Name
      Services vs. STW                 agreement                             P.O. Drawer C                                      On appeal
      Resources Holding Corp.                                                Street
                                                                                                                                Concluded

      Case number
      P-11936-112-CV                                                         Ozona                    TX      76943
                                                                             City                     State   ZIP Code

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.7. Oil Price.com vs. STW             Civil suit regarding unpaid debt      County Ct. at Law # 2 Midland County, TX
                                                                                                                                Pending
      Resources Holding Corp.          for media-related services            Name

                                                                             500 N. Loraine St.                                 On appeal
                                                                             Street
                                                                                                                                Concluded
                                                                             Suite Number 6
      Case number
      CC18571                                                                Midland                  TX      79701
                                                                             City                     State   ZIP Code




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             Name

      Case title                      Nature of case                        Court or agency's name and address          Status of case
 7.8. Power Up Lending Group,         Civil suit regarding unpaid debt      Supreme Court of New York, Nassau County
                                                                                                                               Pending
      Ltd. vs. STW Resources                                                Name
      Holding Corp.                                                         100 Supreme Ct. Dr.                                On appeal
                                                                            Street
                                                                                                                               Concluded

      Case number
      16-001868                                                             Mineola                  NY      11501
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
 7.9. Seaboard International, Inc.,   Civil suit regarding unpaid debt      112th District Court of Pecos County TX
                                                                                                                               Pending
      dba Weir Seaboard vs. Case      stemming from turnkey drilling        Name
      Drilling & Pump Service,        agreement                             112th District Court                               On appeal
      LLC, et al.                                                           Street
                                                                                                                               Concluded
                                                                            PO Drawer C
      Case number
      P-11813-112-CV                                                        Ozona                    TX      76943
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.10. Sichenzia Ross Friedman         Civil suit regarding unpaid legal Supreme Court of the State of New York
                                                                                                                               Pending
      Ference, LLP vs. STW            fees.                             Name
      Resources Holding Corp.                                           New York County Courthouse                             On appeal
                                                                            Street
                                                                                                                               Concluded
                                                                            60 Centre Street
      Case number
      155843-2013                                                           New York                 NY      10007
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.11. Smith, Robertson, Elliott &     Civil suit regarding unpaid legal County Ct. at Law # 2, Travis County TX
                                                                                                                               Pending
      Douglas, LLP vs. STW            fees.                             Name
      Resources Holding Corp.                                           1000 Guadalupe                                         On appeal
      and STW Water Process &                                               Street
      Technologies, LLC                                                                                                        Concluded
                                                                            Room 211
      Case number
      C-1-CV-16-001509                                                      Austin                   TX      78701
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.12. STW Resources Holding         Civil suit for breach of contract,      238th Dist. Ct., Midland County TX
                                                                                                                               Pending
      Corp., STW Energy Services, breach of fiduciary duties,               Name
      LLC, STW Pipeline             defalcation, tortious                   500 N. Loraine St.                                 On appeal
      Maintenance &                 interference with business              Street
      Construction, LLC, STW        contracts and relationships,                                                               Concluded
                                                                            Suite Number 800
      Water & Process               tortious interference with a
      Technologies, LLC, and STW purchase and sale agreement,               Midland                  TX      79701
      Oilfield Construction, LLC vs conversion and civil                    City                     State   ZIP Code
      Felipe Sanchez, Hector M.     conspiracy.
      Martinez Trevino, Terry
      Jacobs, Joshua C. Brooks,
      Dufrane Nuclear Shielding,
      Inc. and Dufrane
      Construction, LLC
      Case number
      CV-50,854




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             Name

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.13. STW Resources Holding              Civil suit regarding breach of        385th District Court, Midland County TX
                                                                                                                                  Pending
      Corp. and STW Pipeline             contract, breach of fiduciary         Name
      Maintenance &                      duties, defalcation,                  500 N. Loraine St.                                 On appeal
      Construction, LLC vs Adam          tortious interference with            Street
      Gregory Jennings and               business contracts and                                                                   Concluded
                                                                               Suite Number 801
      Jennings Energy Services,          relationships, and
      LLC                                tortious interference with a
                                                                               Midland                  TX      79701
      Case number                        purchase and sale agreement,          City                     State   ZIP Code
      CV-51926                           and conversion.


      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.14. United Drilling, Inc. vs Case      Civil suit for breach of contract     83rd District Court, Pecos County TX
                                                                                                                                  Pending
      Drilling and Pump Service,                                               Name
      LLC and STW Resources                                                    400 S. Nelson                                      On appeal
      Holding Corp.                                                            Street
                                                                                                                                  Concluded

      Case number
      P-7405-83-CV                                                             Fort Stockton            TX      79735
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.15. EastJ4 LP, Janet Stinus, CP        Civil suit regarding unpaid debt      County Ct. at Law #2, Midland County TX
                                                                                                                                  Pending
      Four Group, Ltd., and Carolyn                                            Name
      Pearson                                                                  500 N. Loraine St.                                 On appeal
                                                                               Street
                                                                                                                                  Concluded
                                                                               Suite Number 6
      Case number
      CC-18399                                                                 Midland                  TX      79701
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.16. Viewpoint Securities, LLC vs       Arbitration award related to          Sup. Ct. of California, San Diego County
                                                                                                                                  Pending
      STW Resources Holding              investment banking services.          Name
      Corp.                                                                    220 West Broadway                                  On appeal
                                                                               Street
                                                                                                                                  Concluded

      Case number
      37-2014-00036027-CU-FA-CTL                                               San Diego                CA      92101
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.17. West Unified                       Civil action regarding unpaid         District Court of Douglas Co., Nebraska
                                                                                                                                  Pending
      Communications Services,           debt                                  Name
      Inc., f/k/a Intercall, Inc. vs.                                          1701 Farnam Street                                 On appeal
      STW Resources Holding                                                    Street
      Corp.                                                                                                                       Concluded
                                                                               5th Floor
      Case number
      CI 16 5533                                                               Omaha                    NB      68183
                                                                               City                     State   ZIP Code




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                Name

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. DeMarco-Mitchell, PLLC                                  N/A                                              07/29/16               $10,000.00

         Address

         1255 West 15th Street
         Street
         Suite 805

         Plano                       TX       75075
         City                        State    ZIP Code

         Email or website address
         www.bankruptcytx.com

         Who made the payment, if not debtor?
         The Marie Baier Foundation

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




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Debtor          STW Resources Holding Corp.                                                Case number (if known)      16-33121-bjh-11
                Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply

         Address                                                                                    Dates of occupancy

 14.1. 619 West Texas Avenue                                                                        From        2014               To    May, 2016
         Street
         Suite 126

         Midland                                               TX         79701
         City                                                  State      ZIP Code


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                     No.
                     Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                   No. Go to Part 10.
                   Yes. Fill in below:




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                Name


  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

          None

         Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                               account number                                    was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
 18.1. Bank of America
         Name
                                                               XXXX- 1      8     4   6        Checking
         PO Box 15284                                                                          Savings
         Street
                                                                                               Money market
                                                                                               Brokerage
                                                                                               Other
         Wilmington                DE        19850
         City                      State     ZIP Code

         Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                               account number                                    was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
 18.2. Frost Bank
         Name
                                                               XXXX- 2      7     5   8        Checking
         PO Box 4597                                                                           Savings
         Street
                                                                                               Money market
                                                                                               Brokerage
                                                                                               Other
         Odessa                    TX        79760
         City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

          None

Facility name and address                               Names of anyone with access to it     Description of the contents               Does debtor
                                                                                                                                        still have it?
Dufrane Corporation                                     Josh Brooks                           Most if not all furniture,                    No
Name                                                                                          equipment, and business                       Yes
                                                        Address
201 NW Loop 1910                                                                              personal property listed in the
                                                        201 NW Loop 1910
Street                                                                                        Debtor's schedules has been
                                                        Andrews, TX 79714
                                                                                              stored at this location since
                                                                                              July, 2016
Andrews                   TX      79714
City                      State   ZIP Code




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Debtor          STW Resources Holding Corp.                                                 Case number (if known)      16-33121-bjh-11
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 Part 11:         Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

 Part 12:         Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:         Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

         Business name and address                     Describe the nature of the business           Employer Identification number
 25.1. STW Energy Services, LLC                        Oil tank cleaning and rig washing             Do not include Social Security number or ITIN.
         Name                                          services in the oil & gas sector.
         PO Box 11347                                                                                EIN: 4     6 – 3        0     7   6     9    4   9
                                                       Forfeited corporate charter
         Street
                                                       2/20/2015. Debtor has an 85%
                                                       ownership interest.                           Dates business existed

         Midland                  TX      79702-5347                                                 From     06/25/2013         To 02/20/2015
         City                     State   ZIP Code




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Debtor           STW Resources Holding Corp.                                                Case number (if known)      16-33121-bjh-11
                 Name

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.2. STW Oilfield Construction, LLC                    Oil & gas service.                          Do not include Social Security number or ITIN.
         Name                                            Debtor has a 100% ownership
         5037 E. Mockingbird Lane                                                                    EIN: 8     0 – 0      9    3    8       8    7   4
                                                         interest.
         Street
         5th Floor                                                                                   Dates business existed

         Dallas                      TX      75206-5109                                              From     06/30/2013       To   Present
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.3. STW Pipeline Maintenance &                        Pipeline-related services,                  Do not include Social Security number or ITIN.
         Construction, LLC                               including construction and repair,
         Name                                                                                        EIN: 8     0 – 0      9    5    4       2    9   0
                                                         for poly and steel oil gas and
         3424 South County Road                          water pipelines.
         Street
                                                         Debtor has a 100% ownership                 Dates business existed
         Suite 1192                                      interest.                                   From     09/20/2013       To   Present
         Midland                     TX      79706
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.4. Living Water Process &                Water treatment, reclamation and                        Do not include Social Security number or ITIN.
         Technologies, LLC                   recovery service provider.
         Name                                                                                        EIN: 6     1 – 1      7    4    8       0    5   4
                                             Debtor has a 100% ownership
         f/k/a STW Water Process & Tech, LLC interest.
         Street                                                                                      Dates business existed
         3424 S. County Road 1192
                                                                                                     From 04/16/2014           To   Present
         Midland                     TX      79706
         City                        State   ZIP Code

26. Books, records, and financial statements

    26a.        List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                    None

                   Name and address                                                                  Dates of service

      26a.1. Kendall Williams                                                                        From                      To
                   Name
                   184 Bearclaw Circle
                   Street
                   Aledo, TX 76008-1230

                   City                                         State       ZIP Code

                   Name and address                                                                  Dates of service

      26a.2. Vallerie Arrindell                                                                      From                      To
                   Name
                   4507 Holland Ave.
                   Street
                   Apt. 107B

                   Dallas                                       TX          75219-5748
                   City                                         State       ZIP Code

                   Name and address                                                                  Dates of service

      26a.3. Sanjeev Paudel                                                                          From                      To
                   Name
                   3100 Caldera Blvd.
                   Street
                   Apt. 924

                   Midland                                      TX          79705
                   City                                         State       ZIP Code




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Debtor        STW Resources Holding Corp.                                                   Case number (if known)      16-33121-bjh-11
              Name

               Name and address                                                                     Dates of service

       26a.4. Miranda CFO Services, Inc.                                                            From                      To
               Name
               15694 Riparian Road
               Street


               Poway                                          CA          92064
               City                                           State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

       26b.1. Marcum, LLP                                                                           From                      To
               Name
               2049 Century Park East
               Street
               Suite 300

               Los Angeles                                    CA          90067
               City                                           State       ZIP Code

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. Miranda CFO Services, Inc.
               Name
               600 West Broadway
               Street
               Suite 700

               San Diego                                      CA          92101
               City                                           State       ZIP Code

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest          % of interest, if any

Alan R. Murphy                           3424 S County Road 1192                      CEO, President & Director                             1%
                                         Midland, TX 79706
Stanley T. Weiner                        3424 S County Road 1192                      Director                                             13%
                                         Midland, TX 79706
Manfred E. Birnbaum                      3424 S County Road 1192                      Director                                              2%
                                         Midland, TX 79706
Paul DiFrancesco                         3424 S County Road 1192                      Director                                             6.8%
                                         Midland, TX 79706



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Debtor        STW Resources Holding Corp.                                                  Case number (if known)       16-33121-bjh-11
              Name

D. Grant Seabolt Jr.                      5307 E. Mockingbird Lane                   Secretary & Director                                 2%
                                          5th Floor
                                          Dallas, TX 75206
Bill G. Carter                            3424 S County Road 1192                    Director                                             3%
                                          Midland, TX 79706
Robert J. Miranda                         3424 S County Road 1192                    Director                                           0.4%
                                          Midland, TX 79706
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                      Address                                    Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

Name of the parent corporation                                                    Employer Identification number of the parent corporation
STW Resources Holding Corp.                                                       EIN: 2     6 – 1       9    4     5     7   4   3
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 08/25/2016
            MM / DD / YYYY
X /s/ Alan Murphy                                                            Printed name Alan Murphy
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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